     Case 18-10359      Doc 19    Filed 03/02/18 Entered 03/02/18 18:07:10            Desc Main
                                    Document     Page 1 of 6


                          UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
                                  EASTERN DIVISION

In Re:                                              Case Number 18-10359-FJB
Eric J. Dixon and Kerri G. Dixon                    Chapter 7

     MOTION OF NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER AND/OR ITS
      SUCCESSORS AND ASSIGNS FOR RELIEF FROM THE AUTOMATIC STAY

          Now comes Nationstar Mortgage LLC d/b/a Mr. Cooper and/or its successors and assigns
(“Secured Creditor”) and hereby moves this Court pursuant to 11 U.S.C. § 362 and Fed. R.
Bankr. R. 4001 for Relief from the Automatic Stay so as to permit it to enforce any and all
applicable rights and remedies against Eric J. Dixon and Kerri G. Dixon (hereinafter referred to
as the “Debtors”) including, but not limited to, a foreclosure sale on certain mortgaged property
which is located at 14 Bay Street, Wakefield, MA 01880 (the "Property") and consists of a lot of
land with residence thereon.

In support of this Motion, Secured Creditor states the following:

1.        The Debtors’ Chapter 7 Petition was filed on February 1, 2018.

2.        This mortgage was originally given by the Debtors to Mortgage Electronic Registration
Systems, Inc. acting solely as a nominee for GMH Mortgage Services LLC (the "Mortgage").
Said Mortgage is dated December 18, 2014 and is recorded in Middlesex County (Southern
District) Registry of Deeds in Book 64707, Page 296 (the “Mortgage”). A copy of the Mortgage
is attached hereto and is marked Exhibit A. Secured Creditor is the current holder of the
Mortgage.

3.        Said Mortgage secures a promissory note given by the Debtors to GMH Mortgage
Services LLC in the original principal amount of $289,600.00 (the "Note"). Secured Creditor or
its custodian and/or agent is, as of the date hereof, in possession of the Note. Secured Creditor is
an entity entitled to enforce the Note. A copy of the Note is attached hereto and is marked
Exhibit B.




17-029428 / BK01
     Case 18-10359       Doc 19    Filed 03/02/18 Entered 03/02/18 18:07:10           Desc Main
                                     Document     Page 2 of 6


4.        As stated above, the Mortgage was originally given to Mortgage Electronic Registration
Systems, Inc. "(MERS)" as nominee for GMH Mortgage Services LLC its successors and
assigns and was thereafter assigned to CitiMortgage, Inc. A copy of said assignment is attached
hereto as Exhibit C. The Mortgage was further assigned from CitiMortgage, Inc. to Nationstar
Mortgage LLC, its successors and assigns. A copy of said assignment is attached hereto as
Exhibit D. Nationstar Mortgage LLC d/b/a Mr. Cooper is the current servicer for this loan on
behalf of Secured Creditor.

5.        The amount owed on the Mortgage is approximately $321,645.00 including principal,
interest (through February 5, 2018) late fees, and attorney fees and costs. The monthly payments
are currently $1,997.13 and this Mortgage is now in arrears for failure to pay principal and
interest. Mortgage payments are presently due for May 1, 2016 through and including February
1, 2018.

6.        Upon information and belief, a Declaration of Homestead has been recorded with respect
to this property. Said Homestead was recorded in Middlesex County (Southern District)
Registry of Deeds Book 52347, Page 174.

7.        Upon information and belief, the Property is subject to the following encumbrances:

            Lien Holder           Type of Lien          Amount Owed              Priority
          Secured Creditor        1st Mortgage           $321,645.00               n/a

                                                      Total: $321,645.00

8.          According to the Broker’s Price Opinion as of February 10, 2018 (a copy of which is
attached hereto as Exhibit E) the fair market value of the property is $435,000.00. For purposes
of this Motion only, it is Secured Creditor’s opinion that the liquidation value of the premises is
$406,416.40 calculated as the fair market value less a reasonable realtor’s fee (6%); deed stamps
($1,983.60) and anticipated closing costs incurred for a real estate closing ($500.00).

9.        Secured Creditor believes that the Debtors have some equity in the property based on the
amount currently due Secured Creditor as described above totaling approximately $321,645.00
and the liquidation value of the Property.



17-029428 / BK01
   Case 18-10359         Doc 19     Filed 03/02/18 Entered 03/02/18 18:07:10              Desc Main
                                      Document     Page 3 of 6



10.       There is no other collateral securing Debtors’ obligation to Secured Creditor.

11.       This Motion is brought for cause under 11 U.S.C. § 362 given that, among other things,
any protection Secured Creditor may have is quickly eroding and the Property is not necessary to
an effective reorganization. Accordingly, Secured Creditor requests that this Court grant relief
from the automatic stay in order to proceed with its applicable rights and remedies, including but
not limited to a foreclosure sale on the premises and an eviction proceeding should Secured
Creditor, or its successor in interest, become the successful bidder at a foreclosure sale. Attached
are redacted copies of any documents that support this Motion, such as promissory notes,
purchase order, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements in support of right to seek a lift of the automatic stay and
foreclose if necessary.

12.       Secured Creditor further seeks relief in order to, at its option, offer, provide and enter into
any potential forbearance agreement, loan modification, refinance agreement or other loan
workout/loss mitigation agreement. Secured Creditor also requests that it be allowed to contact
the Debtors via telephone or written correspondence to offer such an agreement. Any such
agreement shall be non-recourse unless included in a reaffirmation agreement.

          WHEREFORE, Secured Creditor respectfully requests that the Court:

          (1) Grant Secured Creditor and its successors and/or assigns relief from the 11 U.S.C. §
362 automatic stay for the purpose of exercising its various non-bankruptcy rights and remedies
including and without limitation:

                   a. Taking possession of the Property, obtaining a deed-in-lieu of foreclosure
                      and/or foreclosing the Mortgage at issue; and
                   b. Taking such action as may be necessary to evict the Debtors and/or any
                      occupant from the Property.

          (2) Waive the fourteen-day stay of relief pursuant to Federal Bankruptcy Rule 4001(a)(3);
and




17-029428 / BK01
   Case 18-10359        Doc 19     Filed 03/02/18 Entered 03/02/18 18:07:10         Desc Main
                                     Document     Page 4 of 6


          (3) Order such further relief as this Court deems just and proper.

          In accordance with Local Rules, Secured Creditor requests that this Motion be allowed
without a hearing unless an objection is timely filed.

Dated: March 2, 2018

                                                Respectfully submitted,
                                                Nationstar Mortgage LLC d/b/a Mr. Cooper
                                                By its attorney,




                                                /s/ Julie A. Ranieri
                                                Julie A. Ranieri, Esquire
                                                BBO# 655936
                                                Korde & Associates, P.C.
                                                900 Chelmsford Street, Suite 3102
                                                Lowell, MA 01851
                                                Tel: (978) 256-1500
                                                bankruptcy@kordeassociates.com




17-029428 / BK01
   Case 18-10359        Doc 19     Filed 03/02/18 Entered 03/02/18 18:07:10           Desc Main
                                     Document     Page 5 of 6


                           UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                   EASTERN DIVISION

In Re:                                               Case Number 18-10359-FJB
Eric J. Dixon and Kerri G. Dixon                     Chapter 7

      ORDER ON THE MOTION OF NATIONSTAR MORTGAGE LLC D/B/A MR.
     COOPER AND/OR ITS SUCCESSORS AND ASSIGNS FOR RELIEF FROM THE
                           AUTOMATIC STAY

At Boston in said District, on the ________ day of _________________ , 2018, on the Motion of
Nationstar Mortgage LLC d/b/a Mr. Cooper and/or its successors and assigns (“Secured
Creditor”) after notice to all parties on the Secured Creditor's Certificate of Service, it is hereby

ORDERED AND DECREED:
    1. Secured Creditor is granted Relief from the Automatic Stay imposed pursuant to 11
       USC § 362(a) on the filing of the Petition for Relief.

          2. Secured Creditor and any successor in interest is permitted to proceed forward to
             pursue its rights and remedies under state and/or federal law, including but not limited
             to a foreclosure of the mortgage it holds on real estate located at 14 Bay Street,
             Wakefield, MA 01880, which mortgage is dated December 18, 2014 and recorded in
             Middlesex County (Southern District) Registry of Deeds in Book 64707, Page 296
             (the “Mortgage”). A copy of such mortgage was attached to the Motion for Relief at
             issue. Further, Secured Creditor is authorized to proceed with its eviction rights in
             accordance within applicable law with respect to such Property should Secured
             Creditor, or its successor in interest, become the successful bidder at a foreclosure
             sale.

          3. Secured Creditor and/or its successors, assigns, and servicer may, at its option offer,
             provide and enter into a potential forbearance agreement, loan modification, refinance
             agreement or other loan workout/loss mitigation agreement. Secured Creditor may
             contact the Debtors via telephone or written correspondence to offer such an
             agreement. Any such agreement shall be non-recourse unless included in a
             reaffirmation agreement.


                                               ____________________________________
                                               Honorable Judge Bailey
                                               United States Bankruptcy Judge




17-029428 / BK01
   Case 18-10359       Doc 19      Filed 03/02/18 Entered 03/02/18 18:07:10           Desc Main
                                     Document     Page 6 of 6


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In Re:                                              Case Number 18-10359-FJB
Eric J. Dixon and Kerri G. Dixon                    Chapter 7

                                  CERTIFICATE OF SERVICE

        I, Julie A. Ranieri, Attorney for Nationstar Mortgage LLC d/b/a Mr. Cooper and/or
its successors and assigns hereby certify that on March 2, 2018 I electronically filed the
foregoing Motion for Relief and Proposed Order with the United States Bankruptcy Court for the
District of MA using the CM/ECF System. I served the forgoing documents on the following
CM/ECF participants:

John Fitzgerald, Assistant U.S. Trustee
John Aquino, Trustee
Anthony Frate, Esquire

        I certify that I have mailed by first class mail, postage prepaid the documents
electronically filed with the Court on the following non-CM/ECF participants:

Eric J. Dixon                                 Tax Collector:
14 Bay Street                                 Town of Wakefield
Wakefield, MA 01880                           One Lafayette Street
                                              Wakefield, MA 01880
Kerri G. Dixon
14 Bay Street
Wakefield, MA 01880

                                              /s/ Julie A. Ranieri
                                              Julie A. Ranieri, Esquire
                                              BBO# 655936
                                              Korde & Associates, P.C.
                                              900 Chelmsford Street, Suite 3102
                                              Lowell, MA 01851
                                              Tel: (978) 256-1500
                                              bankruptcy@kordeassociates.com




17-029428 / BK01
